            Case 2:17-cv-00140-SMJ                  ECF No. 55           filed 02/13/18    PageID.750 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for thH_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
 THE CINCINNATI INSURANCE COMPANY, an Ohio                                                                     Feb 13, 2018
   corporation; and THE CINCINNATI INDEMNITY                                                                       SEAN F. MCAVOY, CLERK
           COMPANY, and Ohio corporation,                            )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:17-CV-00140-SMJ
  ZAYCON FOODS LLC, a Washington limited liability                   )
               company, et al.                                       )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiffs Cincinnati Insurance Company and Cincinnati Indemnity Company's Motion for Summary Judgment (ECF No.
u
              16) is GRANTED. Defendants Zaycon Foods, LLC, Frank Maresca, Michael Giunta, Mike Conrrad, and Adam
              Kremin's Cross-Motion for Summary Judgment on Duty to Defend (ECF No. 43) is DENIED. Judgment in favor of
              Plaintiffs.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               Salvador Mendoza, Jr.                                         on motions
      for Summary Judgment (ECF Nos. 16 and 43).


Date: 2/13/2018                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lennie Rasmussen
                                                                                          %\Deputy Clerk

                                                                             Lennie Rasmussen
